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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11   BRYCE ABBINK, individually and on          Case No. 8:19-cv-01257-JFW-PJWx
   12   behalf of all others similarly situated,   Hon. John F. Walter
   13                   Plaintiff,                 [PROPOSED] STATEMENT OF
              v.                                   DECISION GRANTING
   14                                              DEFENDANT EXPERIAN
        EXPERIAN INFORMATION                       INFORMATION SOLUTIONS,
   15   SOLUTIONS, INC., et al.                    INC.’S MOTION TO DISMISS
                                                   PURSUANT TO FEDERAL RULE OF
   16                   Defendants.                CIVIL PROCEDURE 12(b)(6)
   17                                              Date:     September 16, 2019
   18                                              Time:     1:30 p.m.
                                                   Location: 7A
   19
   20                                              Complaint Filed: June 21, 2019

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                                                              [PROPOSED] STATEMENT OF DECISION
                                                          GRANTING EXPERIAN’S MOTION TO DISMISS
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    1                              STATEMENT OF DECISION
    2           Plaintiff Bryce Abbink (“Plaintiff”) alleges that Defendant Experian
    3   Information Solutions, Inc. (“Experian”) willfully violated the Fair Credit Reporting
    4   Act (“FCRA”) by furnishing his consumer report to Defendant Lend Tech Loans,
    5   Inc. (“Lend Tech”), a purported mortgage broker who certified that it intended to
    6   offer consumers firm offers of credit for mortgage refinancing. Specifically, Plaintiff
    7   alleges that Experian willfully violated 15 U.S.C §§ 1681b(c)(1) and 1681e(a) by
    8   furnishing his consumer report to Lend Tech because it should have known that Lend
    9   Tech lacked a permissible purpose and impermissibly sold or transmitted his total
   10   federal student loan debt to Defendant Unified Document Services, LLC (“UDS”).
   11   Plaintiff further alleges that Experian willfully violated § 1681b(c)(2) by purportedly
   12   disclosing his total federal student loan debt to Lend Tech, because such disclosure
   13   impermissibly identified his relationship to the U.S. Department of Education
   14   (“USDE”).
   15           On August 14, 2019, Experian moved to dismiss Plaintiff’s Complaint (ECF
   16   No. 1, “Compl.”) pursuant to Federal Rule of Civil Procedure 12(b)(6), arguing that
   17   Plaintiff had failed to state sufficient facts to plausibly allege that Experian willfully
   18   violated the FCRA. (See ECF No. 25.) On August 26, 2019, Plaintiff filed his
   19   opposition (ECF No. 34), and Experian filed its reply on August 30, 2019 (ECF No.
   20   37.) Based on the arguments advanced by the parties, and for the reasons set forth
   21   below, the Court GRANTS Experian’s motion and dismisses Plaintiff’s Complaint
   22   as to Experian WITHOUT LEAVE TO AMEND.
   23                                      BACKGROUND
   24      I.    Request for Judicial Notice
   25           Experian filed a request for judicial notice (“RJN”) in support of its motion to
   26   dismiss, asking the court to take judicial notice of two websites maintained by the
   27   USDE. (See ECF No. at 25-2.) Plaintiff did not oppose Experian’s request. Because
   28   Exhibits 1 and 2 are webpages maintained by the USDE, a reliable governmental

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    1   entity, they are properly subject to judicial notice pursuant to Federal Rule of
    2   Evidence 201. See, e.g., Daniels–Hall v. Nat. Ed. Assoc., 629 F.3d 992, 999 (9th Cir.
    3   2010).
    4      II. Prescreening And The Fair Credit Reporting Act
    5         The FCRA describes the circumstances under which a credit reporting agency
    6   (“CRA”), like Experian, may lawfully furnish a consumer report to a third party;
    7   these are called “permissible purposes.” 15 U.S.C. § 1681b; see also Stergiopoulos
    8   v. First Midwest Bancorp, Inc., 427 F.3d 1043, 1045-46 (7th Cir. 2005). A CRA has
    9   a permissible purpose (and thus may lawfully) furnish a consumer report to “a person
   10   which it has reason to believe,” among other things, “intends to use the information
   11   in connection with a credit transaction involving the consumer . . . and involving the
   12   extension of credit to, or review or collection of an account of, the consumer,” 15
   13   U.S.C. § 1681b(a)(3)(A), or in connection with an unsolicited (i.e., prescreen) credit
   14   transaction that “consists of a firm offer of credit,” id. § 1681b(c)(1)(B). This case
   15   concerns the latter—i.e., prescreen reports.
   16         In prescreening, a user, such as a lender, or an agent acting on the lender’s
   17   behalf (like a mortgage broker), submits pre-selected credit criteria to a CRA, who
   18   returns a list of consumers who meet that criteria, called a prescreen list. See Kennedy
   19   v. Chase Manhattan Bank USA, NA, 369 F.3d 833, 839-41 (5th Cir. 2004) (describing
   20   prescreening process); see also Harris v. Database Mgmt. & Mktg., Inc., 609 F. Supp.
   21   2d 509, 513 (D. Md. 2009). The lender, in return, agrees to extend a firm offer of
   22   credit to all consumers who meet the preselected criteria. Kennedy, 369 F.3d 839-41.
   23   Prescreening is one of the few instances where the FCRA allows consumer credit
   24   information to be disclosed to a third party without the consumer’s knowledge or
   25   consent. Id. By allowing prescreening, Congress struck a balance between the
   26   consumer’s right to privacy and the value a consumer receives from a firm offer of
   27   credit. See, e.g., Cole v. U.S. Capital, Inc., 389 F.3d 719, 725 (7th Cir. 2004).
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    1      III. Factual Background
    2         This case arises out of a solicitation Plaintiff purportedly received from UDS,
    3   advertising a student loan consolidation program. (See Compl.) The solicitation
    4   indicated that Plaintiff had approximately $78,500 of federal student loan debt, which
    5   Plaintiff alleges Experian reported to Lend Tech on or around January 21, 2019. (Id.
    6   at ¶¶ 64-68, Ex. A.) On information and belief, Plaintiff alleges that Lend Tech sold
    7   or transmitted Plaintiff’s credit information to UDS, who then sent Plaintiff the
    8   solicitation on January 25, 2019. (Id. at ¶¶ 31-32.) Plaintiff does not, however, allege
    9   that Experian had any interactions with UDS, or that it had any knowledge that Lend
   10   Tech resold Plaintiff’s credit information to UDS.
   11         Plaintiff commenced this action on June 21, 2019, alleging that Experian
   12   willfully violated § 1681b(c)(1) because Lend Tech never had any permissible
   13   purpose to obtain Plaintiff’s consumer report. (Id. at ¶¶ 49-51.) Plaintiff further
   14   alleges that Experian should have known that Lend Tech lacked a permissible
   15   purpose based on certain “red flags.” (Id. at ¶ 56.) Specifically, Plaintiff asserts that
   16   a reasonable investigation of Lend Tech would have uncovered that Lend Tech—
   17   who held itself out as “a mortgage lender”—did not “possess any license to conduct
   18   any financial services or mortgage lending or originating in the State of California.”
   19   (Id. at ¶ 53.) In addition, Plaintiff claims that Lend Tech provided Experian with a
   20   nonworking telephone number and an outdated business address. (Id. at ¶ 55.)
   21   Despite these “red flags,” Plaintiff alleges that Experian accepted Lend Tech’s
   22   certification of its permissible purpose “at face value.” (Id. at ¶ 57.) Based on these
   23   allegations, Plaintiff asserts that Experian willfully violated § 1681e(a) by: (i)
   24   “failing to implement reasonable procedures to limit the furnishing of a consumer
   25   report for a permissible purpose”; and (2) “failing to make a reasonable effort to
   26   verify the identity of Lend Tech Loans and the supposed permissible purpose for
   27   which the information was being sought.” (Id. at ¶ 52.)
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                                                                 [PROPOSED] STATEMENT OF DECISION
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    1         Plaintiff also alleges that Experian willfully violated § 1681b(c)(2) by
    2   providing Lend Tech with Plaintiff’s total outstanding federal student loan debt. (Id.
    3   at ¶ 65.) According to Plaintiff, the “total sum of federal student loan debt directly
    4   identifies the relationship or experience of Plaintiff” to the USDE because the USDE
    5   owns all federal student loan debt. (Id. at ¶ 66.) As such, Plaintiff alleges that
    6   Experian willfully violated § 1681b(c)(2) by identifying the relationship between
    7   Plaintiff and a particular creditor (i.e., the USDE). (Id. at ¶ 67.)
    8         Based on these purported willful violations, Plaintiff seeks to represent a
    9   nationwide class to recover “statutory damages, reasonable cost and attorneys’ fees,
   10   and such other relief as the Court deems necessary.” (Id. at ¶¶ 61, 70.) Plaintiff does
   11   not, however, allege that he suffered any actual damages as a result of Experian’s
   12   purported misconduct.
   13                                   LEGAL STANDARD
   14           “To survive a motion to dismiss, a complaint must contain sufficient factual
   15   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”
   16   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,
   17   550 U.S. 544, 547 (2007)). A claim is facially plausible when the factual allegations
   18   permit “the court to draw the reasonable inference that the defendant is liable for the
   19   misconduct alleged.” Id. In other words, “the nonconclusory ‘factual content,’ and
   20   reasonable inferences from that content, must be plausibly suggestive of a claim
   21   entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th
   22   Cir. 2009). “Determining whether a complaint states a plausible claim for relief will
   23   . . . be a context-specific task that requires the reviewing court to draw on its judicial
   24   experience and common sense.” Iqbal, 556 U.S. at 679.
   25         In reviewing a motion to dismiss under Rule 12(b)(6), the Court assumes the
   26   truth of all factual allegations and construe all inferences from them in the light most
   27   favorable to the nonmoving party. Thompson v. Davis, 295 F.3d 890, 895 (9th Cir.
   28   2002). However, the Court does not accept legal conclusions as true merely because
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    1   they are cast in the form of factual allegations. Ileto v. Glock, Inc., 349 F.3d 1191,
    2   1200 (9th Cir. 2003). When ruling on a motion to dismiss, the Court may consider
    3   the facts alleged in the complaint, documents attached to the complaint, documents
    4   relied upon but not attached to the complaint when authenticity is not contested, and
    5   matters of which the Court takes judicial notice. Lee v. City of Los Angeles, 250 F.3d
    6   668, 688-89 (9th Cir. 2001).
    7                                      DISCUSSION
    8      I.    Count I Fails To State A Claim
    9           Plaintiff’s first cause of action alleges that Experian willfully violated
   10   §§ 1681b(c) and 1681e(a) by furnishing his consumer report to Lend Tech based on
   11   Lend Tech’s representation that it intended to issue firm offers of credit. (See Compl.
   12   at ¶ 48.) Specifically, Plaintiff alleges that Lend Tech did not have a permissible
   13   purpose to obtain his consumer report because “he did not have any relationship with
   14   Lend Tech Loans, has never conducted any business with Lend Tech Loans, and has
   15   never provided any authorization to Lend Tech Loans to obtain his consumer report.”
   16   (Id. at ¶¶ 49-50.) Plaintiff mistakes the requirements of § 1681b(c)(1). As explained
   17   above, that section governs the prescreening process, and “permits a consumer
   18   reporting agency to furnish a creditor with a consumer report in connection with a
   19   credit transaction not initiated by the consumer if ‘the transaction consists of a firm
   20   offer of credit.’” Kennedy, 369 F.3d at 839-40 (quoting 15 U.S.C. § 1681b(c)(1));
   21   see also Premium Morg. Corp. v. Equifax Info. Servs., LLC, No. 07-cv-6349, 2008
   22   WL 4507613, at *2 (W.D.N.Y. Sept. 30, 2008).
   23           Here, Plaintiff has failed to allege any facts showing that Experian knew, or
   24   had any indication, that Lend Tech was not issuing firms offers of credit or that it
   25   was reselling Plaintiff’s information to UDS. To the contrary, Plaintiff affirmatively
   26   alleges that Experian furnished his consumer report based on Lend Tech’s
   27   “representation that it intended to use [the] report for the purpose of a firm offer of
   28   credit.” (Compl. at ¶ 48.) Thus, by Plaintiff’s own allegations, Experian had reason
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    1   to believe it was furnishing Plaintiff’s consumer report in accordance with
    2   § 1681b(c)(1). See Henderson v. Corelogic Nat’l Background Data, LLC, 161 F.
    3   Supp. 3d 389, 397 n.7 (E.D. Va. 2016).
    4         Nevertheless, Plaintiff cites to the Ninth Circuit’s decision in Pintos v. Pac.
    5   Creditors Ass’n, 605 F.3d 665 (9th Cir. 2010), arguing that “Section 1681e requires
    6   more from a credit reporting agency than merely obtaining a subscriber’s general
    7   promise to obey the law.” 1 (Doc. 34 at 13.) But “a plaintiff bringing a claim that a
    8   reporting agency violated the ‘reasonable procedures’ requirement of § 1681e must
    9   first show that the reporting agency released the report in violation of § 1681b.”
   10   Washington v. CSC Credit Servs. Inc., 199 F.3d 263, 267 (5th Cir. 2000); see also
   11   Perrill v. Equifax Info. Servs., LLC, 205 F. Supp. 3d 869, 878 (W.D. Tex. 2016);
   12   Baker v. Trans Union LLC, No. 07-cv-8032, 2008 WL 4838714, at *5 (D. Ariz. Nov.
   13   6, 2008). Because Plaintiff fails to demonstrate how Experian violated § 1681b(c),
   14   the Court finds that his first cause of action must be dismissed for this reason alone.
   15         Moreover, the Complaint fails to identify a single process or procedure
   16   Experian lacked, or failed to follow, in evaluating whether Lend Tech had a
   17   permissible purpose. Section 1681e(a) mandates that CRAs implement reasonable
   18   procedures to ensure compliance with § 1681b, including requiring “[e]very
   19   consumer reporting agency [to] make a reasonable effort to verify the identity of a
   20   new prospective user and the uses certified by such prospective user prior to
   21   furnishing such user a consumer report.” 15 U.S.C. § 1681e(a). Plaintiff does not
   22   allege that Experian failed to verify the identity of Lend Tech when it first began
   23   transmitting prescreens, and he concedes that Experian obtained Lend Tech’s
   24   certification of its permissible purpose prior to furnishing prescreen reports. (Compl.
   25   at ¶ 48.) Plaintiff nevertheless claims that Experian lacked reasonable procedures
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                Notably, the Ninth Circuit expressly refused to “opine on the meaning or
   27   scope of . . . 1681b(c) or on the practice of obtaining information from credit
        reporting agencies to permit the extension of offers to prescreened customers.”
   28   Pintos, 605 F.3d at 676 n.2
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    1   because Experian allegedly failed to uncover that Lend Tech did “not possess any
    2   license to conduct any financial services” (id. at ¶ 54), and disclosed on Plaintiff’s
    3   personal consumer report “a nonworking telephone number and business address that
    4   does not match the current address on [Lend Tech’s California business filing” (id.
    5   at ¶ 55). Neither of these purported failures establishes that Experian lacked
    6   reasonable procedures to ensure that Lend Tech had a permissible purpose under
    7   § 1681b.
    8         First, Plaintiff is wrong that Lend Tech’s purported lack of a lending license
    9   should have raised questions about its permissible purpose. The California
   10   Department of Real Estate’s website plainly reveals that Lend Tech obtained a
   11   corporate broker’s license on August 11, 2017. 2 And, because “a real estate broker
   12   can perform services for both lenders and borrowers in connection with loans secured
   13   by liens on real property,” Bock v. Cal. Capital Loans, Inc., 216 Cal. App. 4th 264,
   14   269 (2013), there was nothing suspect about Lend Tech’s lack of a lending license.
   15   Second, Lend Tech’s purportedly outdated address and nonworking telephone “at the
   16   time the information was published to Plaintiff’s consumer report” (whenever that
   17   might be) does not plausibly demonstrate that Experian failed to comply with its
   18   obligations under § 1681e(a) at the time Lend Tech’s pulled Plaintiff’s report. (ECF
   19   No. 34 at 17.) Contrary to Plaintiff’s contentions, Experian it is not required to verify
   20   Lend Tech’s permissible purpose each time it obtained prescreen credit reports. See
   21   Pietrafesa v. First Am. Real Estate Info. Servs., Inc., No. 05-cv-1450, 2007 WL
   22   710197, at *4 (N.D.N.Y. Mar. 6, 2007) (“It would be unreasonable to require credit
   23   reporting agencies . . . to independently investigate each and every request to
   24   determine its legitimacy.” (citing Boothe v. TRW Credit Data, 557 F. Supp. 66, 71
   25   (S.D.N.Y. 1982)).
   26         In any event, the Court finds that Plaintiff’s allegations fall well short of
   27   establishing that Experian acted willfully. An FCRA violation is willful where it is
   28         2
                  http://www2.dre.ca.gov/PublicASP/pplinfo.asp?License_id=02043494
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    1   committed either knowingly or with reckless disregard for the requirements imposed
    2   under the Act. See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 56-60 (2007). A CRA
    3   acts in “reckless disregard” for purposes of the FCRA where its actions involve “an
    4   unjustifiably high risk of harm that is either known or so obvious that it should be
    5   known.” Id. at 68 (internal quotation marks omitted). “In order to survive a motion
    6   to dismiss, the plaintiff's complaint must allege specific facts as to the defendant’s
    7   mental state . . . . Merely stating that the violation was ‘willful’ or ‘negligent’ is
    8   insufficient.” Monroe v. Guilford Cty. Dist. Court, No. 15-cv-580, 2015 WL
    9   4873002, at *1–2 (M.D.N.C. Aug. 13, 2015) (quoting Braun v. Client Servs., Inc., 14
   10   F. Supp. 3d 391, 397 (S.D.N.Y. 2014) (collecting cases)); see also Mnatsakanyan v.
   11   Goldsmith & Hull APC, No. 12-cv-4358, 2013 WL 10155707, at *7 (C.D. Cal. May
   12   14, 2013) (dismissing willfulness claim where plaintiff failed to allege facts showing
   13   defendant’s “state of mind” in procuring plaintiff’s consumer report).
   14         Here, the Complaint does not include any factual allegations concerning
   15   Experian’s state of mind or its knowledge that Lend Tech was not using the prescreen
   16   reports for their intended purpose. As discussed, there is not a single allegation that
   17   Experian had any indication that Lend Tech did not send firm offers of credit or that
   18   it was reselling consumers’ information to UDS. Cf. Aleksic v. Experian Info. Sols.,
   19   Inc., No. 13-cv-7802, 2014 WL 2769122, at *2 (N.D. Ill. June 18, 2014) (dismissing
   20   claim against Experian where plaintiff did “not allege that Experian had any reason
   21   to believe that Clarity’s certifications of its information requests were false or to
   22   suspect that the entities for whom Clarity obtained the information, i.e., the Internet
   23   lenders, might use it for an impermissible purpose”). Rather, Plaintiff makes only
   24   generic and conclusory statements regarding the FCRA, and Experian’s sale of
   25   “consumer reports to businesses, such as Lend Tech.” (Compl. at ¶ 59.) This is not
   26   sufficient to state a willfulness claim under § 1681n. See Braun, 14 F. Supp. 3d at
   27   398; Mnatsakanyan, 2013 WL 10155707, at *7; Perl v. Plains Commerce Bank, No.
   28   11-cv-7972, 2012 WL 760401, at *2 (S.D.N.Y. Mar. 8, 2012). Indeed, “it is just as
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  1   possible, based on the factual allegations, that [Experian] made an innocent mistake.”
  2   Perl, 2012 WL 760401, at *2. Accordingly, the Court DISMISSES Plaintiff’s first
  3   cause of action.
  4      II. Count II Fails To State A Claim
  5         Plaintiff’s second cause of action alleges that Experian willfully violated the
  6   FCRA by purportedly disclosing Plaintiff’s total federal student loan debt on the
  7   prescreen report sold to Lend Tech, which Plaintiff claims impermissibly identified
  8   his relationship with the USDE. (Compl. at ¶¶ 64-68.) As noted, a willful violation
  9   of the FCRA requires Plaintiff to show that Experian acted either with actual
 10   knowledge that its actions violated the FCRA or in “reckless disregard” of its
 11   statutory duty. Safeco, 551 U.S. at 57-58 (2007). As the Supreme Court made clear
 12   in Safeco, a defendant does not act willfully under 15 U.S.C. § 1681n(a) unless its
 13   conduct was “objectively unreasonable” in light of “legal rules that were ‘clearly
 14   established’ at the time.” Id. at 69-70 (quoting Saucier v. Katz, 533 U.S. 194, 202
 15   (2001)). Thus, a claim for a willful violation fails unless the conduct at issue was
 16   clearly unlawful as established by either “pellucid statutory text” or an
 17   “authoritative” interpretation of that text by a federal court of appeals or the
 18   governing regulatory agency. Id. at 70.
 19         As the parties have acknowledged, there is “a lack of case law or regulatory
 20   guidance on the issue.” (See ECF No. 24 at 2.) However, courts have made clear that
 21   Congress intended prescreening to occur in the context of student loans when it
 22   enacted the Higher Education Act (“HEA”). See McDonald v. Nelnet, Inc., 477 F.
 23   Supp. 2d 1010, 1014-15 (E.D. Mo. 2007); Schwartz v. Goal Fin. LLC, 485 F. Supp.
 24   2d 170, 174-78 (E.D. N.Y. 2007). These courts have never indicated that disclosing
 25   student loan information in the prescreening process runs afoul of § 1681b(c)(2). Id.
 26   Plaintiff’s conclusory assertions to the contrary are not sufficient to establish a willful
 27   violation. See, e.g., Braun, 14 F. Supp. 3d at 398. Indeed, “[w]ithout clear authority
 28   to the contrary, Experian’s procedures do not amount to a willful violation” of the
                                                               [PROPOSED] STATEMENT OF DECISION
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  1   prescreening process. Sheldon v. Experian Info. Sols., Inc., No. 08-cv-5193, 2010
  2   WL 3768362, at *6 (E.D. Pa. Sept. 28, 2010); see also Banga v. Experian Info. Sols.,
  3   Inc., No. 09-cv-04867, 2013 WL 5539690, at *6 (N.D. Cal. Sept. 30, 2013) Thus,
  4   even if Experian’s purported disclosure of Plaintiff’s federal student loan debt ran
  5   afoul of § 1681b(c)(2), Plaintiff still could not show that Experian’s violation was
  6   willful. 3 Accordingly, the Court DISMISSES Plaintiff’s second cause of action.
  7                                     CONCLUSION
  8         In light of the forgoing, the Court find that Plaintiff has failed to plausibly
  9   allege that Experian willfully violated the FCRA by furnishing his consumer report
 10   to Lend Tech. The Court also finds that leave to amend would be futile, particularly
 11   given Plaintiff’s failure to identify a single factual allegation he would make to cure
 12   the defects identified above. See Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000).
 13   Accordingly, the Court hereby GRANTS Experian’s Motion to Dismiss Plaintiff’s
 14   Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) WITHOUT
 15   LEAVE TO AMEND.
 16
 17         IT IS SO ORDERED.
 18
 19   Dated:                        , 2019
 20                                                    The Honorable John F. Walter
                                                       United States District Court Judge
 21
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 23
            3
               The Court is skeptical of Plaintiff’s claim that Experian’s disclosure of his
      total federal student loan debt identified his relationship with the USDE. As Experian
 24   persuasively argues, a consumer does not have a direct relationship with the USDE.
      Rather, the servicer of a loan is the entity with whom a borrower has a relationship,
 25   and who administers the loan. See Student Loan Servicing All. v. D.C., 351 F. Supp.
      3d 26, 39 (D.D.C. 2018) (“Student loan servicers serve as a kind of middle-man
 26   between lenders and borrowers.”); (see also ECF No. 25-4.) Indeed, all federal
      student loans are “assigned” to loan servicers, and borrowers are specifically
 27   instructed to direct all questions to their respective servicers. (ECF No. at 2-3.)
      However, because Plaintiff cannot allege that Experian acted willfully, the Court
 28   need to not resolve this issue.
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